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UNITED STATES DlSTRlCT COURT SOUTI-IERN DlSTRlCT OF TEXAS

 

Motion and ()rder for Admission Pr'o Hac Vice

 

 

Division COrpuS ChriS’ti Case Number 2118~CV»00414

 

 

 

Sandpiper Condominium Counci| of Co-Owners, lnc. -

 

V(?}'SZ{S

 

Lexington insurance Company

 

 

Lawyer’s Name
Firm
Street
City & Zip Code
Telephone & Emaii
Licensed: State & Number
Federal Bar & Number

Samuel Weiss

Mound Cotton Wollan & Greengrass, LF..P
One New Yorl< Plaza

New York, N\’ ?0004

(212) 804-4528, sweiss@moundcotton.com
New Yorl< (5650601)

SDNY (5650601)

 

 

Name of party applicant seeks to
appear for:

 

Lexington |nsurance Company

 

 

l-las applicant been sanctioned by any bar association or court? Yes No \/

On a separate sheet for each sanction, please supply the full particulars

 

 

 

Dated= 2/13/2019 Sig“ed: %-\/\/

 

 

The state bar reports that the applicant’s status is: See attached Cer'tiflcale Of good S’£andlng

 

 

Dated: Clerl<’s Signature

 

 

 

Order

 

 

 

Dated:

 

This lawyer is admitted pro hac vice.

 

United States District Judge

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Appellaie Diuiaion of the Suprreme Tourt

of the State of Nem "l§ork
Second Iudicial Deprartment

I, Aprilanne i\goaiino, Tlerlt of tire Appellate Diuieion at the
Suoreme Tourt of the State of diem '~l§ork, Second Ilzdicial Deoztrtmeot,
do lierehg certifg that Samuel 'Meiee mae dolg
liceneed and admitted to practice as an Ai'torneg and Tomteelor~at-leu
in all the comm of the State, according to the larue of the State and the
court rules and ordere, on the 12111 dog of Decemher EHIB',

hare dnlg taken and enhacrilred the oath of office prescribed lig law, line
been enrolled in the L{oll of A‘ttornege and Tmmselore-at~L"aw on tile in
mg office, had duly regietered with the administrative office of the
courte, and according to the records of this court ia itt good standing era

am é\ttorneg and Tmn't§el.or-at~¥£am.

In mintzes Uhereof. ill haire Irereuutn set
mg hand and affixed the seal of said
;?xppellate Diuieirm cm ZHehruacg 13. 2131§.

];;FMZL/./.Njf§M/ww

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